                  Calendar              Today       !"          September 29, 2020                                                    %   Day   $
                                                                                   Espire Weekly Team Meeting
                                                  TUE
          Create   $
                                                  29                               Tuesday, September 29, 2020 ⋅ 12:00 – 1:30pm
                                        GMT-07
                                         9 AM
September 2020               !"                                                    https://zoom.us/j/95641618415?pwd=VHdwR2dBSS…
S     M      T     W    T     F    S
                                        10 AM                                      8 guests
30   31      1     2    3     4    5                                               1 yes, 7 awaiting
6     7      8     9    10    11   12   11 AM                                             Lisa Marie
13   14      15    16   17    18   19
                                                                                          Chuk Morka
                                        12 PM
20   21      22    23   24    25   26            Espire Weekly Team Meeting
                                                                                           Jenn Navarro
                                                 12 – 1:30pm
27   28      29    30   1     2    3
                                         1 PM
                                                 https://zoom.us/j/95641618415?pwd=VHdwR2dBSS95MDN3b3NkT0NQRTBkUT09
                                                                                          Kay Dinsdale
4     5      6     7    8     9    10
                                                                                          Lester Loor
                                         2 PM
Meet with…
                                                                                          Nick DiMartino
          Search for people              3 PM                                             Peter Kicki
                                                                                          Steven Forkosh
Time Insights                      #     4 PM
TUESDAY, SEP 29, 2020                                                              Justin Emert is inviting you to a scheduled Zoom
1.5 hr in meetings (avg: 0.4 hr)
                                                                            &      meeting.
                                         5 PM
                                         6 PM
          More insights
                                                                                   Join Zoom Meeting
My calendars                       #     7 PM
                                                                                   https://zoom.us/j/95641618415?
     Lisa Marie                                                           Going?                         Yes       No      Maybe
                                         8 PM
     Birthdays
     Reminders                           9 PM
  From:    Andrew Franz | Fluent afranz@fluentco.com
Subject:   Espire - Fluent Follow up
   Date:   September 29, 2020 at 7:20 AM
     To:   Ryan Schulke | Fluent rschulke@fluentco.com, Carl Augustin | Fluent caugustin@fluentco.com, Matthew Koncz | Fluent
           mkoncz@fluentco.com, Lisa Marie lisa@espireads.com, Justin Emert justin.e@espireads.com, steven@espireads.com


       Andrew Franz is inviting you to a scheduled Zoom meeting.

       Join Zoom Meeting
       https://fluentco.zoom.us/j/95106221914?
       pwd=RUNWOExKNy81TVROUno5RGdnL2FOQT09

       Meeting ID: 951 0622 1914
       Passcode: 138258
       One tap mobile
       +16465588656,,95106221914#,,,,,,0#,,138258# US (New York)
       +13017158592,,95106221914#,,,,,,0#,,138258# US (Germantown)

       Dial by your location
            +1 646 558 8656 US (New York)
            +1 301 715 8592 US (Germantown)
            +1 312 626 6799 US (Chicago)
            +1 669 900 6833 US (San Jose)
            +1 253 215 8782 US (Tacoma)
            +1 346 248 7799 US (Houston)
            877 853 5257 US Toll-free
            888 475 4499 US Toll-free
       Meeting ID: 951 0622 1914
       Passcode: 138258
       Find your local number: https://fluentco.zoom.us/u/aAhEpxbcf




           Mail Attachment
  From:    Justin Emert justin.e@espireads.com
Subject:   Updated invitation: Espire Team Zoom Call @ Wed Oct 7, 2020 2pm - 3:30pm (PDT) (lisa@espireads.com)
   Date:   October 7, 2020 at 11:22 AM
     To:   lisa@espireads.com, chuk@espireads.com, justin@espireads.com, steven@espireads.com, jenn@espireads.com,
           nick@espireads.com, kay@espireads.com, peter@espireads.com, lester@espireads.com, accounting@espireads.com



             This event has been changed.

           Espire Team Zoom Call
           When            Changed: Wed Oct 7, 2020 2pm – 3:30pm Pacific Time - Los Angelesmore details »
           Where           https://zoom.us/j/97522801077 (map)
           Joining info    Join with Google Meet
                           meet.google.com/kvn-pfba-hwr

                           Join by phone
                           (US) +1 216-839-0209 (PIN: 947889921)

                           More phone numbers
           Calendar        lisa@espireads.com
           Who             •   justin.e@espireads.com - organizer
                           •   chuk@espireads.com
                           •   justin@espireads.com
                           •   steven@espireads.com
                           •   lisa@espireads.com
                           •   jenn@espireads.com
                           •   nick@espireads.com
                           •   kay@espireads.com
                           •   peter@espireads.com
                           •   lester@espireads.com
                           •   accounting@espireads.com

           Justin Emert is inviting you to a scheduled Zoom meeting.

           Join Zoom Meeting
           https://zoom.us/j/97522801077

           Meeting ID: 975 2280 1077
           One tap mobile
           +13017158592,,97522801077# US (Germantown)
           +13126266799,,97522801077# US (Chicago)

           Dial by your location
                +1 301 715 8592 US (Germantown)
                +1 312 626 6799 US (Chicago)
                +1 646 876 9923 US (New York)
                +1 669 900 6833 US (San Jose)
                +1 253 215 8782 US (Tacoma)
                +1 346 248 7799 US (Houston)
                +1 408 638 0968 US (San Jose)
           Meeting ID: 975 2280 1077
           Find your local number: https://zoom.us/u/ac8cd3fJfI
Find your local number: https://zoom.us/u/ac8cd3fJfI


Going (lisa@espireads.com)? Yes - Maybe - No                       more options »

Invitation from Google Calendar

You are receiving this email at the account lisa@espireads.com because you are subscribed for updated invitations
on calendar lisa@espireads.com.

To stop receiving these emails, please log in to https://www.google.com/calendar/ and change your notification
settings for this calendar.

Forwarding this invitation could allow any recipient to send a response to the organizer and be added to the guest list,
or invite others regardless of their own invitation status, or to modify your RSVP. Learn More.




Mail Attachment      invite.ics
  From:    Justin Emert justin.e@espireads.com
Subject:   Invitation: Espire Team Growth Call @ Wed Oct 14, 2020 2pm - 3pm (PDT) (lisa@espireads.com)
   Date:   October 13, 2020 at 10:16 AM
     To:   lisa@espireads.com, justin@espireads.com, chuk@espireads.com, steven@espireads.com, nick@espireads.com,
           jenn@espireads.com, kay@espireads.com, peter@espireads.com, accounting@espireads.com, lester@espireads.com



             You have been invited to the following event.

           Espire Team Growth Call
           When           Wed Oct 14, 2020 2pm – 3pm Pacific Time - Los Angeles                            more details »
           Where          https://zoom.us/j/95128584186 (map)
           Joining info   Join with Google Meet
                          meet.google.com/djp-uzac-zss

                          Join by phone
                          (US) +1 484-841-5279 (PIN: 214494218)

                          More phone numbers
           Calendar       lisa@espireads.com
           Who            •   justin.e@espireads.com - organizer
                          •   justin@espireads.com
                          •   chuk@espireads.com
                          •   steven@espireads.com
                          •   lisa@espireads.com
                          •   nick@espireads.com
                          •   jenn@espireads.com
                          •   kay@espireads.com
                          •   peter@espireads.com
                          •   accounting@espireads.com
                          •   lester@espireads.com

           Justin Emert is inviting you to a scheduled Zoom meeting.

           Join Zoom Meeting
           https://zoom.us/j/95128584186

           Meeting ID: 951 2858 4186
           One tap mobile
           +13017158592,,95128584186# US (Germantown)
           +13126266799,,95128584186# US (Chicago)

           Dial by your location
                +1 301 715 8592 US (Germantown)
                +1 312 626 6799 US (Chicago)
                +1 646 876 9923 US (New York)
                +1 408 638 0968 US (San Jose)
                +1 669 900 6833 US (San Jose)
                +1 253 215 8782 US (Tacoma)
                +1 346 248 7799 US (Houston)
           Meeting ID: 951 2858 4186
           Find your local number: https://zoom.us/u/adZJgRRI3q
Find your local number: https://zoom.us/u/adZJgRRI3q


Going (lisa@espireads.com)? Yes - Maybe - No                       more options »

Invitation from Google Calendar

You are receiving this email at the account lisa@espireads.com because you are subscribed for invitations on
calendar lisa@espireads.com.

To stop receiving these emails, please log in to https://www.google.com/calendar/ and change your notification
settings for this calendar.

Forwarding this invitation could allow any recipient to send a response to the organizer and be added to the guest list,
or invite others regardless of their own invitation status, or to modify your RSVP. Learn More.




Mail Attachment      invite.ics
